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                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                 )
                                          )
                        Plaintiff,        )
                                          )
      vs.                                 )                             Case No. 09-40089-JAR
                                          )
TONY A. PURVIS and                        )
PRESTON M. GARDENHIRE,                    )
                                          )
                                          )
                        Defendants.       )
__________________________________________)

                                     MEMORANDUM AND ORDER

         On March 26, 2010, the Court entered an Order (Doc. 37) granting the parties’ joint

motion to bifurcate the motions hearing, whereby the parties would first present defendant Tony

Purvis’s Motion to Compel Production of Discovery (Doc. 28) pursuant to Fed. R. Crim. P.

16(a)(1)(E) and (d)(2), which co-defendant Preston Gardenhire has joined, then supplement the

briefing on the pending Motion to Suppress (Doc. 30) and conduct a second hearing. On March

29, 2010, the Court held a hearing and took the motion under advisement.1 Having reviewed the

evidence and arguments presented by the parties, the Court is now prepared to rule. For the

reasons explained in detail below, defendant’s Motion to Compel is denied without prejudice.

I.       Relevant Facts

         As the Court has yet to conduct the suppression hearing, the details regarding the traffic

stop in this case are highly summarized. On October 4, 2009, Trooper Craig Phillips observed a


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          The parties also agreed to bifurcate defendant Gardenhire’s Motion for Bill of Particulars (Doc. 29) and
Motion to Dismiss (Doc. 31), which defendant Purvis has not joined. At the March 29, 2010 hearing, the parties
rested on their submissions and the Court will issue a separate order on these motions.
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blue Ford Focus exit Interstate 70 in Wabaunsee County, Kansas, at the Tallgrass Road exit.

The vehicle exited the interstate after passing signs indicating that there was a drug check lane

ahead. Trooper Phillips allegedly observed the Focus fail to stop at the stop sign at the end of

the exit ramp, and initiated a traffic stop. The driver was defendant Gardenhire and co-defendant

Purvis was the passenger. Trooper Phillips determined that Purvis had rented the Focus and

requested consent to search, which Purvis denied. Trooper Phillips then asked defendants to exit

the car and informed them he intended to “work his drug dog around the car.” Trooper Phillips

deployed his drug detection dog, Cliff, to sniff the vehicle. Based on Cliff’s alleged alert to the

presence of narcotics, Trooper Phillips searched the trunk of the Focus and found approximately

105 pounds of marijuana.

       Defense counsel requested training and performance records of Cliff from the

government. The government provided certification and training records, but declined to

provide discovery related to performance. Specifically, defendant requests the following:

               (1)     Field performance records kept by police regarding Cliff,

                       for one year prior to the search of defendant’s vehicle on

                       October 4, 2009; and

               (2)     Copies of videos of the ten vehicle searches involving Cliff

                       prior to the search in this case.

       At the hearing, the Court heard testimony from Steven D. Nicely, an expert retained by

defendant to render an opinion about the reliability of the dog-handler team, that is, Cliff and

Trooper Phillips. Nicely, who testified that he had participated in the certification of hundreds of

dogs and drug dog teams, reviewed Cliff’s records provided by the government, the video of


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Cliff’s sniff of defendant’s vehicle, and Trooper Phillips’ report. Only Cliff’s records were

admitted into evidence at the hearing. These records consist of Cliff’s certification, awarded by

the State of Kansas Highway Patrol,2 and four training reports from 2007 through 2009.3

       With respect to the certification, Nicely testified that it did not tell him anything about the

reliability of Cliff because it did not identify which of the many standards were used to make the

assessment. Nicely testified that he could not find any published information regarding the

standards used by the Kansas Highway Patrol.

       Nicely also offered his opinion regarding Cliff’s training records. Nicely was critical of

the fact that Trooper Phillips trained Cliff, as the dog might anticipate where Phillips placed the

substances because he worked with Phillips and was familiar with him. Nicely testified that by

doing his own training evaluation, Trooper Phillips in effect, was evaluating himself. Nicely

also noted that on a scale of 1 to 5, Cliff did not get the highest score possible on his indication,

or alert to the hidden substance. Nicely testified that this indicated some type of flaw in Cliff’s

indication and the training record did not reflect what that flaw was. Nicely testified that the

records indicate training every six weeks, which he viewed as inadequate. Accordingly, Nicely

stated that he could not adequately determine Cliff’s reliability based on the certification and

training records provided, but needed to review the dog’s field performance records, as they

would indicate whether the training had “external validity,” that is, carried over into the real

world. In Nicely’s experience, these field records are kept by officers for every deployment in

the field, and ideally, should include the results of the sniff, what the dog knew before the sniff,



       2
        Ex. 1.
       3
        Exs. 2 through 5.

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how the dog responded, the time of the sniff, when the dog first picked up the odor, and how the

drugs were packaged. The parties stipulated that training involves a controlled environment,

whereas in the field, it is not controlled.

        Nicely also reviewed the video of the dog sniff. Based on his review of the video, on a

scale of one to five with one being the highest score, Nicely rated Cliff at a “4” on his sniffing

behavior and a “5” fo his indication behavior. Nicely testified that Cliff’s records indicate that

he is a passive indicator, meaning he would most likely sit when he detected the odor of

narcotics. Nicely did not see Cliff sit in the video, and also testified that his sniffing was

“distracted,” and he appeared to receive cuing or prompting from Trooper Phillips. Nicely also

expressed doubts about Trooper Phillips’ interpretation of Cliff’s behavior as indicating or

alerting for drugs.

II.     Discussion

        Defendant moves for specific information and records about Cliff beyond the training

and certification records provided by the government. Citing Fed. R. Crim. P. 16(a)(1)(E),

defendant argues Cliff’s field records and videos are “material to preparing the defense,” because

without these records, Nicely cannot give an adequate opinion on Cliff’s reliability and

performance. The government opposes the additional requests as overly broad and not supported

by the law.

        Absent some additional showing of materiality, the government need not produce any

further information than the certification and training records for Cliff.4 The Tenth Circuit has



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         See United States v. Paez, No. 09-40006-JAR, 2009 WL 1739907, at *3 (D. Kan. June 18, 2009) (citing
United States v. Lambert, 351 F. Supp. 2d 1154, 1162 (D. Kan. 2004)); United States v. Chavira, No. 05-40010-01-
JAR, 2005 WL 1213670, at *9 (D. Kan. May 18, 2005) (same).

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explained that:

                  [W]ith a canine, the reliability should come from the fact that the
                  dog is trained and annually certified to perform a physical skill.
                  When the annual certification process involves actual field testing
                  and grading of the canine’s drug-detection skills, the canine’s
                  reliability is sufficient for a probable cause determination absent
                  some circumstance that justifies a more complete examination of
                  the canine’ skill and performance.5

Such a showing could be made if the dog has a poor accuracy record, if the dog’s training was

substandard, if the dog’s health was in question, or if the circumstances of the search caused the

Court to question the dog’s reliability.6

        In support of his motion, defendant cites Justice Souter’s dissent in Illinois v. Caballes,7

which discusses the wide range of accuracy of drug dog alerts, which are dependent on the dog

and the handler. The majority opinion, however, did not address the issue of whether the types

of additional documents requested by defendant are required to show the dog’s reliability at the

time he alerted on defendant’s vehicle. Instead, the Court held that a dog sniff around the

exterior of a lawfully stopped vehicle does not require reasonable, articulable suspicion as long

as the sniff is within the scope of the stop.8 The Court declines to depart from the clearly

established rule in the Tenth Circuit based on dicta in a dissenting opinion.

        Nor does defendant point to any facts to suggest that a deeper examination of Cliff’s

reliability is in order. Instead, he focuses on what Nicely characterizes as gaps and shortcomings

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          United States v. Kennedy, 131 F.3d 1371, 1378 (10th Cir. 1997), cert. denied, 525 U.S. 863 (1998)
(quoting United States v. Wood, 915 F. Supp. 1126, 1136 n.2 (D. Kan. 1996), rev’d on other grounds, 106 F.3d 942
(10th Cir. 1997)).
        6
         Wood, 915 F. Supp. at 1136.
        7
         543 U.S. 405, 410-417 (2005).
        8
         Id. at 409-10.

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in the certification and training record. Nicely does not offer a specific reason to question the

validity or reliability of Cliff’s certification, only that he is not aware of what that certification

entails. Likewise, Nicely’s criticism of the training records are based on his review of those

records, without detail or explanation from his trainer, Trooper Phillips. The details of Cliff’s

reliability, that is, his training and certification, are not yet before the Court, and certainly will be

discussed at the suppression hearing. Moreover, Nicely’s evaluation of the dog’s sniff of the

vehicle in this case is based on his review of the video, which has not yet been admitted into

evidence, or testified to by Trooper Phillips. Although the Court granted the parties’ request to

bifurcate the motions hearing on efficiency grounds,9 until these matters are established, the

Court is unable to determine whether the additional records sought meet the standard of

materiality for Rule 16 purposes. Accordingly, the Court concludes that defendant’s request is

premature, and is denied without prejudice to renew after the suppression hearing.

          IT IS THEREFORE ORDERED BY THE COURT that defendant’s Motion to

Compel (Doc. 28) is DENIED without prejudice.

          IT IS FURTHER ORDERED that the following briefing and hearing schedule will

apply to defendant Gardenhire’s Motion to Suppress (Doc. 30), which defendant Purvis has

joined:

          Defendant Purvis’s supplemental brief shall be filed on or before June 3, 2010;

          The government’s response and any Daubert motions shall be filed on or before July 6,

          2010;

          Defendants’ reply, if any, shall be filed on or before July 16, 2010;


          9
           (Doc. 37.)

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      An evidentiary hearing will be held July 20, 2010, at 9:00 a.m.; and

      Trial remains set for August 17, 2010.

      IT IS SO ORDERED.

Dated: May 4, 2010
                                                    S/ Julie A. Robinson
                                                   JULIE A. ROBINSON
                                                   UNITED STATES DISTRICT JUDGE




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